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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X

                                                           :
                                                               Chapter 11
In re:                                                     :
                                                               Case No. 18-13359 (SHL)
MIAMI METALS I, INC., 1
                                                           :
                  Debtor.
                                                           :

-------------------------------------- X

             ORDER GRANTING MIAMI METALS LITIGATION TRUST’S
          MOTION FOR ORDER ESTABLISHING PROCEDURES GOVERNING
               ADVERSARY PROCEEDINGS PURSUANT TO SECTIONS
            502, 544(b), 547, 548, 549 AND 550 OF THE BANKRUPTCY CODE

         Upon consideration of the Miami Metals Litigation Trust’s Motion for Order Establishing

Procedures Governing Adversary Proceedings Pursuant to Sections 502, 544(b), 547, 548, 549

and 550 of the Bankruptcy Code (the “Motion”); 2 and the Court having jurisdiction to consider

the Motion and to grant the relief request therein pursuant to 28 U.S.C. §§ 157 and 1334; and the

matter being a core proceeding under 28 U.S.C. § 157(b)(2); and venue being proper under 28

U.S.C. §§ 1408 and 1409; and due and proper notice having been given, and it appearing that no

other further notice need by provided; and approval of the Motion being in the best interests of

the Miami Metals Litigation Trust, its beneficiaries, creditors and all parties in interest; and after

due deliberation and sufficient cause appearing therefor, it is hereby

                  ORDERED, ADJUDGED AND DECREED THAT:

         The Motion is GRANTED as set forth herein.


1
  The last four digits of the Debtor's federal tax identification number are 3194. The chapter 11 cases of Miami Metals
I, Inc.’s affiliates have been either dismissed or closed.
2
 Capitalized terms used in this Order but otherwise defined herein shall have the meanings given to them in the
Motion.


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       1.      The procedures governing all parties to the Avoidance Actions, which procedures

are attached hereto as Exhibit 1 (the “Avoidance Action Procedures”), are hereby approved and

shall govern the Avoidance Actions, effective as of the date of this Order; provided, however, that

the Avoidance Action Procedures shall not apply to any adversary proceeding in which the

complaint initiating such adversary proceeding, or a stipulation filed in the adversary docket,

states that such procedures are not applicable and shall not apply to adversary proceedings that

have been or may be commenced against former insiders of the Debtors.

       2.      The Bankruptcy Code, the Bankruptcy Rules and Local Bankruptcy Rules shall

apply to the Avoidance Actions, except to the extent that they conflict with the Avoidance Action

Procedures.

       3.      The time periods set forth in the Avoidance Action Procedures shall be calculated

in accordance with Bankruptcy Rule 9006(a).

       4.      The adversary proceeding, Lieberman v. Premier Gold Mines Limited, Adv. Pro.

No. 20-1257 (SHL) (the “PG Adversary Proceeding”), shall be stayed until thirty (30) days after

the Court’s resolution of the sub judice motion for summary judgment filed by Debtors and the

Senior Lenders [ECF Doc. Nos. 1202, et seq.]. Upon the Court’s determination of the motion, a

scheduling conference shall be set in the PG Adversary Proceeding to address the timing and

applicability of the Avoidance Action Procedures.

       5.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

       Dated: December 16, 2020
       New York, New York

                                                     /s/ Sean H. Lane
                                                     Honorable Sean H. Lane
                                                     United States Bankruptcy Judge



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                                  Avoidance Action Procedures
 These procedures (the “Avoidance Action Procedures”) apply to adversary proceedings (each,
 an “Avoidance Action” and, collectively, the “Avoidance Actions”) commenced by the Miami
 Metals Litigation Trust (the “Litigation Trust”) seeking to avoid and recover transfers pursuant
 to sections 502, 544(b), 547, 548, 549 and 550 of the Bankruptcy Code; provided however, that
 the Avoidance Action Procedures shall not apply to any adversary proceeding in which the
 complaint initiating such adversary proceeding, or a stipulation filed in the adversary docket,
 states that such procedures are not applicable.

    A. Stipulation to Extend Time for Defendants to Respond to the Complaint;
       Mediation Before Response Upon Agreement

      1. Without further order of the Court, the Litigation Trust and any Avoidance Action
         defendant (each, a “Defendant” and, together with the Litigation Trust, the “Parties”)
         may stipulate in writing to up to four (4) separate extensions of time for a Defendant to
         respond (the “Response”) to an Avoidance Action complaint (the “Response Due
         Date”), with each extension to be no more than thirty (30) days (the “120 Day Extension
         Cap”). The stipulation can be documented via electronic mail and shall not be filed.

      2. Nothing contained herein shall prejudice the Litigation Trust from seeking an extension
         of the 120 Extension Cap on a global basis for all Avoidance Actions or a Defendant
         from seeking a further extension.

      3. If the Parties jointly agree by stipulation (which stipulation shall be filed in the
         adversary proceeding) to enter mediation prior to the Response Due Date, the Response
         Due Date shall be deferred while the mediation is pending. If the mediation does not
         resolve the Avoidance Action, the Response Due Date shall be extended for an
         additional thirty (30) days following the completion of the mediation and the filing of
         the mediator’s report (the “Mediator’s Report”).

      4. Except as set forth above, further extensions of the Response Due Date shall not be
         granted except upon a motion or by stipulation of the Litigation Trust and Defendant,
         approved by order of the Court.

    B. Stay of Requirement to Conduct Pretrial Conference

        The conference required by Federal Rule of Civil Procedure 16, made applicable herein
        pursuant to Bankruptcy Rule 7016, shall be stayed until the filing of the Defendant’s
        Response. If an Avoidance Action is not resolved through mediation or otherwise, then
        upon the later of (i) the filing of the Mediator’s Report and (ii) the filing of the Defendant’s
        Response, the Litigation Trust shall file with the Court and serve on the Defendant a
        notice of pretrial conference (the “Pretrial Scheduling Conference”) to take place in the
        adversary proceeding at the next scheduled omnibus hearing; provided, however, that a
        minimum of fourteen (14) days’ notice of the Pretrial Scheduling Conference is required.
        If there is not sufficient time to provide adequate notice, then the Litigation Trust shall file
        with the Court and serve on the Defendant a notice of the Pretrial Scheduling Conference
        to take place at the following scheduled omnibus hearing.


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   C. Stay of Requirement to Conduct Rule 26(f) Conference

      The conference required by Federal Rule of Civil Procedure 26(f), made applicable
      pursuant to Bankruptcy Rule 7016 (mandatory meeting before scheduling
      conference/discovery plan), shall be stayed until the completion of mediation and the filing
      of the Defendant’s Response. If an Avoidance Action is not resolved through mediation
      or otherwise, then upon the later of (i) the filing of the Mediator’s Report and (ii) the filing
      of the Defendant’s Response, the Parties shall conduct a Rule 26(f) conference and submit
      a proposed discovery scheduling order (the “Scheduling Order”) to the Court prior to or at
      the Pretrial Scheduling Conference.

   D. Stay of Discovery

      All formal discovery shall be stayed until after a Scheduling Order is entered and after the
      Pretrial Schedule Conference has occurred in accordance with these Avoidance
      Procedures; provided, however, this stay of discovery shall in no way preclude the Parties
      from informally exchanging documents and other information in an attempt to resolve an
      Avoidance Action in advance of, or during, the mediation process

   E. Settlement of Avoidance Actions

      Pursuant to Section 3.6 of the Litigation Trust Agreement and Sections 9.1 and 9.4 of the
      Plan, the Litigation Trustee holds the power to investigate, commence, prosecute, abandon,
      compromise or settle the Avoidance Actions without notice, a hearing or Court approval
      where the amount in controversy does not exceed $500,000; provided, however, in the case
      where the Litigation Trust and a Defendant settle an Avoidance Action, whether by
      mediation or otherwise, where the amount in controversy exceeds $500,000, the Litigation
      Trustee shall file a motion pursuant to Bankruptcy Rule 9019 to approve the settlement
      with the Court within fourteen (14) days of the settlement. Where all of the Parties to any
      Avoidance Action deem it appropriate and necessary for a settlement to be approved by
      the Court where the amount in controversy is less than $500,000, the Parties may do so by
      filing a motion pursuant to Bankruptcy Rule 9019.

   F. Mediation Procedures and Requirements

   1. To the extent an Avoidance Action has not been resolved and/or settled within thirty (30)
      days after a Response is filed, then such Avoidance Action shall be referred to mandatory
      non-binding mediation (unless such mediation has occurred already pursuant to Section
      A.3 hereof) (the “Mediation”).

   2. Within two (2) weeks after (i) an Avoidance Action has been referred to Mediation
      pursuant to Section F.1 hereof or (ii) the Parties have agreed to enter Mediation pursuant
      to Section A.3 hereof (the “Mediation Deadline”), the Parties shall jointly select a mediator
      (the “Mediator”) from the list of Mediators (the “Mediator List”) attached hereto as Exhibit
      A. The Litigation Trust shall file on the respective adversary proceeding docket a notice
      of Mediator selection (the “Notice of Mediator Selection”) on or before the Mediation
      Deadline. If the Parties are unable to agree on a Mediator on or before the Mediation
      Deadline, the Litigation Trust shall request that the Court appoint a Mediator from the


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      register of Mediators maintained by the United States Bankruptcy Court for the Southern
      District of New York.

   3. Promptly after the filing of the Notice of Mediator Selection, the Litigation Trust and
      Defendant’s counsel (or the Defendant, if appearing pro se) shall jointly contact the
      selected Mediator to discuss the Mediation. The Mediation will be scheduled within sixty
      (60) days of the filing of the Notice of Mediator Selection.

   4. The Parties shall provide the Mediator, and exchange with each other, a copy of their
      position statements (“Position Statements”), which may not exceed ten (10) pages double-
      spaced in 12 point type (exclusive of exhibits and schedules), at least ten (10) days prior to
      the scheduled Mediation. The Mediator also may require the Parties to (i) provide to the
      Mediator any relevant papers and exhibits and (ii) exchange documents. Additionally, the
      Mediator, at his/her sole discretion, may require the Parties to submit confidential position
      statements, for the Mediator’s use only, addressing their settlement position in the
      Avoidance Action.

   5. The Mediation shall take place via electronic conferencing rather than in person unless the
      Parties and the Mediator agree otherwise. In the event an in person Mediation is held, it
      shall take place in New York, New York and shall be held at the law office of the Litigation
      Trust’s counsel, the Litigation Trust’s special preference counsel, the Mediator’s office, or
      at another location agreed upon by the Mediator, the Litigation Trust and the Defendant
      (which can be outside of New York, New York if agreed to by the Parties and Mediator
      with costs split as set forth below).

   6. Except as set forth herein, the Mediation shall be conducted in accordance with General
      Order M-452 which is available on the Court’s website (http://www.nysb.uscourts.gov).

   7. The Mediator will preside over the Mediation with full authority to determine the nature
      and order of the Parties’ presentations and with full authority to implement any additional
      procedures which are reasonable and practical under the circumstances and consistent with
      these Avoidance Action Procedures.

   8. The length of time necessary to effectively complete the Mediation will be within the
      Mediator’s discretion. The Mediator also may adjourn a Mediation that has been
      commenced if the Mediator determines that an adjournment is in the best interests of the
      Parties.

   9. The Parties shall participate in the Mediation in good faith and with a view toward reaching
      a consensual resolution. The Mediation(s) shall be attended by (i) a representative of the
      Defendant with full settlement authority (and if Defendant is represented by counsel, its
      counsel) and (ii) Litigation Trustee Donna Lieberman, or when necessary, her designee
      (with settlement authority), and counsel for the Litigation Trust . Under the terms of the
      Litigation Trust Agreement, the Trust Oversight Committee must approve any settlement,
      compromise, or other resolution of an Avoidance Action where the stated amount in
      controversy exceeds $200,000 or the dispute resolves resolution of a title dispute. In the
      circumstance where a settlement in principal is reached at Mediation in a matter where the



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      stated amount in controversy exceeds $200,000 or settlement of a title dispute, that
      settlement shall be subject to Trust Oversight Committee approval. The Trustee shall act
      in good faith and seek such approval within a reasonable amount of time. Any Mediation
      that results in a settlement subject to Trust Oversight Committee approval will be held
      open until such time as a decision is made by the Trust Oversight Committee. In the event
      the Trust Oversight Committee does not approve a settlement reached at Mediation, the
      parties may elect to return to Mediation or terminate the Mediation.

   10. The mediation shall be conducted so as to be completed within one hundred and twenty
       (120) days after the date the Notice of Mediator Selection is filed, which deadline may be
       extended by the mutual consent of the Litigation Trust, the Defendant and the Mediator.

   11. Within ten (10) days after the conclusion of each Mediation, the Mediator shall file a
       Mediator’s Report in the respective Avoidance Action, which shall be limited to stating
       only (i) whether the Avoidance Action settled or did not settle; (ii) the date or dates the
       Mediation took place; and (iii) the names of the Parties and/or counsel who attended.

   12. Upon notice and a hearing, a Party’s failure (i) to submit the required Position Statement
       or other submissions as provided in these Avoidance Action Procedures or as may be
       agreed to by the Mediator or ordered by the Court, or (ii) to attend the Mediation, may
       result in the imposition of sanctions as may be appropriate under the circumstances as
       determined by the Court. The Mediator shall promptly file with the Court a notice when
       any Party fails to comply with the Mediation provisions in these Avoidance Action
       Procedures.

   13. The fees and reasonable and actual expenses of the Mediator shall be shared equally by the
       Parties on a per case basis. The Mediator’s fees shall be fixed as follows:

          a. cases with a claim amount (as reflected in the complaint) of less than $250,000:
             $2,500 per Party, per case;

          b. cases with a claim amount (as reflected in the complaint) equal to or greater than
             $250,000 and less than $1,000,000: $3,000 per Party, per case; and

          c. cases with a claim amount (as reflected in the complaint) equal to or greater than
             $1,000,000: $3,500 per Party, per case.

      The Mediator’s fees will be earned by, and paid to, the Mediator as follows:

               a.       50% upon the exchange of position statements; and

               b.       50% just prior to the occurrence of mediation, or as otherwise provided
                        herein.

   14. If the Parties mutually request that a Mediator travel from New York City to some other
       location for Mediation and the Mediator agrees to the location, the Mediator’s fee shall
       increase by $750 per Party, per case.



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   15. The full fees and actual, reasonable, necessary and non-refundable expenses of the
       Mediator shall be paid by any Party that cancels or fails to appear at Mediation unless the
       Party notifies the Mediator of the cancellation by facsimile or electronic mail by no later
       than 5:00 p.m. Eastern Time one week in advance of the scheduled Mediation date (e.g.,
       if the Mediation is scheduled for a Monday, a notice of cancellation must be given no later
       than the previous Monday at 5:00 p.m. Eastern Time) or sooner.

   16. Each Party shall pay its portion of the Mediator’s fee at least five (5) days before the
       commencement of Mediation. The Parties shall each pay half (50%) of the Mediator’s
       reasonable and actual expenses, per case, within fourteen (14) days after billing by the
       Mediator; provided, however, that if a Defendant fails to timely pay a bill for a Mediator’s
       fees or expenses, the Litigation Trust may pay the bill and recover such sum. The Parties
       and the Mediator may enter into an agreement for the Mediator to continue his or her efforts
       after the conclusion of the formal Mediation session, on such terms as may be agreed upon
       among the Mediator and all Parties.

   17. Without the prior consent of both Parties, no Mediator shall mediate a case in which he/she
       or his/her law firm represents a Party (i.e., a Party to any Avoidance Action), any of the
       Debtors, Debtors’ principals or any secured lender of any of the Debtors. If a Mediator’s
       law firm represents any Defendant in any of the Avoidance Actions, then: (i) the Mediator
       shall not personally participate in the representation of that Defendant; (ii) the law firm
       shall notate the file to indicate that the Mediator shall have no access to it; and (iii) any
       discussions concerning the particular Avoidance Action by employees of the law firm shall
       exclude the Mediator. The Mediator’s participation in Mediation pursuant to these
       Avoidance Action Procedures shall not create a conflict of interest with respect to the
       representation of such Defendants by the Mediator’s law firm.

   18. The Mediator shall not be called as a witness by any Party. No Party shall attempt to
       compel the testimony of, or compel the production of documents from, the Mediators or
       the agents, partners or employees of their respective law firms. Neither the Mediators nor
       their respective agents, partners, law firms, or employees (i) are necessary parties in any
       proceeding relating to the Mediation or the subject matter of the mediation, no (ii) shall be
       liable to any Party for any act or omission in connection with any Mediation conducted
       under these Avoidance Action Procedures. Any documents provided to the Mediator by
       the Parties shall be destroyed within thirty (30) days after the filing of the Mediator’s
       Report, unless the Mediator is otherwise ordered by the Court. However, a Mediator may
       be called as a witness by any Party and may be compelled to testify and/or answer discovery
       on a limited basis in proceedings where it is alleged that a Party failed to comply with its
       Mediation obligations as is required in these Avoidance Action Procedures.

   19. All proceedings and writings incident to the Mediation will be considered privileged and
       confidential and subject to all the protections of Federal Rule of Evidence 408, and shall
       not be reported or admitted in evidence for any reason whatsoever. Nothing stated or
       exchanged during Mediation shall operate as an admission of liability, wrongdoing or
       responsibility.




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   G. Avoidance Actions Omnibus Hearings

      The Court will schedule regular omnibus hearing dates in the main bankruptcy case, on
      which dates any post-mediation Pretrial Scheduling Conferences will take place. Any
      pretrial motions filed by the Parties in the Avoidance Actions must be set for hearing
      on one of the omnibus hearing dates unless otherwise ordered by the Court.

   H. Motions Affecting all Avoidance Actions

   I. Any motions filed by the Litigation Trust that affect all of the Avoidance Actions shall
      be filed in the main bankruptcy case and not in each separately docketed Avoidance
      Action; provided, however, that each Defendant shall receive notice of the filing of the
      same.

   J. Modification of Terms By Agreement of the Parties

      Notwithstanding the foregoing, with the exception of paragraphs E, F(9) (as it pertains to
      approval of settlements by the Trust Oversight Committee only), G and H, the Parties
      may agree to modify these Avoidance Action Procedures in any Avoidance Action upon
      the written consent of all Parties to that Avoidance Action.




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                 EXHIBIT A TO AVOIDANCE ACTION PROCEDURES

                                         Mediator List



   1. Carollynn H.G. Callari
      Callari Partners LLC
      One Rockefeller Plaza,10th Floor
      New York, NY 10020


   2. Joseph Orbach
      Hahn & Hessen LLP
      488 Madison Avenue, 15th Floor
      New York, NY 10022


   3. Edward L. Schnitzer
      Montgomery McCracken Walker & Rhoads LLP
      437 Madison Avenue
      New York, NY 10022


   4. Derek C. Abbott
      Morris, Nichols, Arsht & Tunnell LLP
      1201 North Market Street
      Wilmington, DE 19899-1347


   5. Paul A. Rubin
      Rubin LLC
      345 Seventh Avenue
      New York, NY 10001


   6.   Leslie Berkoff
        Moritt Hock & Hamroff
        1407 Broadway
        New York, NY 10018


   7.   Louis Kornreich,
        Bernstein, Shur, Sawyer & Nelson, P.A.
        100 Middle Street
        Portland, ME 04104-5029
